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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            NORTHERN DIVISION
TONY JOE STEVENS,                                                              PLAINTIFF

VS.                          CASE NO. 3:22-CV-292-DPM

ZACHARY WEST, et al.                                                        DEFENDANTS

                                          ORDER

       The parties are scheduled for a settlement conference before the undersigned

on Wednesday, June 4, 2025. Pursuant to General Order 54,1 counsel for both parties

and their clients will be allowed to bring electronic devices, including cell phones,

laptop computers or PDA type devices into the courthouse on June 4, 2025.

       Counsel and clients who bring electronic devices to the settlement conference

should bring with them a copy of this Order to present to Court Security Officers

upon entry into the building.

       SO ORDERED 29 May 2025.




                                           _____ __________________________
                                           Edie R. Ervin
                                           United States Magistrate Judge




       1
         Counsel are directed to ensure that their clients are familiar with General Order 54’s
requirements, including that they may not record, photograph, or film anyone or anything inside
the courthouse.
